       4:22-cv-01235-JD         Date Filed 12/05/22    Entry Number 19        Page 1 of 28




                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                      FLORENCE DIVISION


  DHD Jessamine, LLC,                         )       Civil Action Number: 4:22-cv-01235-JD
                                              )
                   Plaintiff,                 )
                                              )
  v.                                          )
                                              )
  Florence County, South Carolina; Frank J.   )         ANSWER OF BEHALF OF
  Brand; Jason Springs; Roger M. Poston;      )       GOVERNMENTAL DEFENDANTS
  Alphonso Bradley; Jerry W. Yarborough;      )           (Jury trial demanded)
  Stoney C. Moore; Waymon Mumford;            )
  and Willard Dorriety, Jr. as the elected    )
  members of the Florence County Council;     )
  and John Does 1-15,                         )
                                              )
                Defendants.                   )
  _________________________________           )

       Governmental Defendants, by and through their undersigned counsel, answer Plaintiff’s

complaint as follows:

                                     FOR A FIRST DEFENSE

       1.      The complaint fails to state a claim for which relief can be granted.

                                     FOR A SECOND DEFENSE

       2.      These Defendants Deny each and every paragraph not hereinafter specifically

admitted, qualified, or explained.

                                     FOR A THIRD DEFENSE

       3.       Defendants admit to footnote numbers 1 and/or 2 of Plaintiff’s complaint only

insofar as it alleges that Councilman Ken Caudle abstained from any discussion or vote relating to




                                                  1
      4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 2 of 28




Ordinance No. 17-2021/22. Defendants deny all remaining allegations in footnote numbers 1

and/or 2 as stated.

       4.       These Defendants admit the allegations of Paragraph 1 only insofar as it alleges

that Defendants Frank J. Brand, Jason Springs, Roger M. Poston, Alphonso Bradley, Jerry W.

Yarborough, Stoney C. Moore, Waymon Mumford, and Willard Dorriety are elected members of

Florence County Council and that those Defendants along with Defendants Florence County and

John Does 1-15 have been named as Defendants in this suit. These Defendants deny all other

allegations contained in Paragraph 1 as stated.

       5.       Paragraph 2 states legal conclusions which cannot be admitted or denied; however,

to the extent that paragraph 3 attempts to establish liability on behalf of these Defendants, these

Defendants deny the same and demand strict proof thereof.

       6.       Paragraph 3 states legal conclusions which cannot be admitted or denied; however,

to the extent that the allegations of paragraph 3 attempts to establish liability on behalf of these

Defendants, these Defendants deny the same and demand strict proof thereof.

       7.       These Defendants admit to the allegations of Paragraph 4 only insofar as it alleges

that the Jessamine project falls within the category of properties affected by the moratorium. These

Defendants lack the information sufficient to form a belief as to the extent of conversations

between Plaintiff and third parties, and therefore deny those allegations and demand strict proof

thereof. These Defendants deny all remaining allegations in paragraph 4 as stated.

       8.       As to paragraph 5, these Defendants lack information sufficient to form a belief as

to whether Plaintiff was awarded $17,890,344.40 in tax credits through the federal Low-Income

Housing Tax Credits and South Carolina state housing tax credits which are contingent on the




                                                  2
      4:22-cv-01235-JD          Date Filed 12/05/22      Entry Number 19       Page 3 of 28




completion of the Jessamine and, therefore, deny the same and demand strict proof thereof. These

Defendants deny all other allegations contained in Paragraph 5.

       9.         These Defendants admit to the allegations of Paragraph 6 only insofar as it alleges

that Florence County Ordinance No. 17-2021/22 has been adopted. These Defendants deny all

other allegations contained in Paragraph 6 as stated.

       10.        These Defendants admit to the allegations of Paragraph 7 only insofar as it alleges

that Florence County Ordinance No. 17-2021/22 does not place time requirements on its

moratorium, subsequent zoning study, or any other county action and that the process of applying

new zoning applications might take more than 4 months after the zoning study. These Defendants

Deny all other allegations contained in Paragraph 7.

       11.        As to Paragraph 8, these Defendants lack knowledge as to whether the

aforementioned tax credits are contingent upon construction of the Jessamine and, therefore, deny

the same and demand strict proof thereof. These Defendants deny all other allegations contained

in Paragraph 8.

       12.        As to paragraph 9, these Defendants lack information sufficient to form a belief as

to whether the Plaintiff will be required to surrender the aforementioned tax credits and, therefore,

deny the same and demand strict proof thereof. These Defendants deny all other allegations

contained in paragraph 9 as stated.

       13.        These Defendants lack information sufficient to form a belief as to the allegations

contained in paragraph 10 and, therefore, deny the same and demand strict proof thereof.

       14.        Paragraph 11 states legal conclusions which cannot be admitted or denied;

however, to the extent that the allegations of paragraph 11 attempt to establish liability on behalf

of these Defendants, these Defendants deny the same and demand strict proof thereof.



                                                  3
      4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19        Page 4 of 28




       15.      Upon information and belief, these Defendants admit to the allegations contained

in paragraph 12 only insofar as it alleges that Plaintiff is an LLC duly organized under the laws of

the State of South Carolina. These Defendants lack information sufficient to form a belief as to the

remaining allegations in paragraph 12 and, therefore, deny the same and demand strict proof

thereof.

       16.      These Defendants admit to the allegations of paragraphs 13 and 14 only insofar as

it states that Defendants Frank J. Brand, Jason Springs, Roger M. Poston, Alphonso Bradley, Jerry

W. Yarborough, Stoney C. Moore, Waymon Mumford, and Willard Dorriety, Jr. are elected

members of Florence County Council. The remaining allegations of paragraphs 13 and 14 state

legal conclusions which cannot be admitted or denied; however, to the extent the allegations of

those paragraphs attempt to establish liability on behalf of these Defendants, these Defendants

deny the same and demand strict proof thereof.

       17.      Upon information and belief, these Defendants admit to the allegations of

Paragraph 15 only insofar as it alleges that Plaintiff intends Defendants John Doe 1-15 to represent

any citizens who conspired with the individually named members of County Council, agents or

employees of Florence County, or any other public agency or official to interfere with and deprive

Plaintiff of its protected constitutional rights; however, these Defendants deny that any such person

exists. The remaining allegations in paragraph 15 are legal conclusions which cannot be admitted

nor denied; however, to the extent that those allegations attempt to establish liability on behalf of

these Defendants, these Defendants deny the same and demand strict proof thereof.

       18.      Paragraphs 16, 17, 18, and 19 contain legal conclusions which cannot be admitted

or denied; however, to the extent that the allegations of paragraphs 16, 17, 18, and 19 attempt to




                                                 4
      4:22-cv-01235-JD         Date Filed 12/05/22      Entry Number 19       Page 5 of 28




establish liability on behalf of these Defendants, these Defendants deny the same and demand strict

proof thereof.

       19.       Upon information and belief, these Defendants admit to the allegations of

Paragraph 20 only insofar as it alleges that in 1986, Congress enacted Section 42 of the Internal

Revenue Code (IRC), called the Low Income Housing Credit Program (LIHTC Program), which

was signed into law by President Ronald Reagan as part of the Tax Reform Act of 1986. These

Defendants lack information sufficient to form a belief as to all remaining allegations of paragraph

20 and, therefore, deny the same and demand strict proof thereof.

       20.       These Defendants lack information sufficient to form a belief as to paragraphs 21

and 22 and, therefore, deny the same and demand strict proof thereof.

       21.       These Defendants lack information sufficient to form a belief as to the allegations

of paragraph 23 and, therefore, deny the same and demand strict proof thereof.

       22.       Insofar as the allegations of paragraphs 24, 25, 26, 27, 28, 29, and 30 allege the

contents of the LIHTC Program, the 2021 QAP, any portion of the Internal Revenue Code, or any

other documentation, these Defendants crave reference to that documentation as the best evidence

of the contents therein and deny any allegations inconsistent with those contents. The allegations

of Paragraph 24, 25, 26, 27, 28, 29, and 30 also state legal conclusions which cannot be admitted

or denied; however, to the extent the allegations of those paragraphs attempt to establish liability

on behalf of these Defendants, these Defendants deny the same and demand strict proof thereof.

These Defendants lack information sufficient to form a belief as to any remaining allegations and,

therefore, deny the same and demand strict proof thereof.

       23.       Upon information and belief, these Defendants admit to the allegations of

Paragraph 31 only insofar as it alleges that the owner-members of Plaintiff are Douglas



                                                 5
      4:22-cv-01235-JD         Date Filed 12/05/22        Entry Number 19        Page 6 of 28




Development, LLC, Holliday Development, LLC, and Shaumber Development, LLC. These

Defendants lack knowledge regarding all remaining allegations of paragraph 31 and, therefore,

deny those allegations and demand strict proof thereof.

        24.      These Defendants lack information sufficient to form a belief as to the allegations

of paragraph 32 and, therefore, deny the same and demand strict proof thereof. These Defendants

further specifically deny any allegation of conspiracy in paragraph 32, and all other remaining

allegations of paragraph 32.

        25.      These Defendants admit to the allegations of Paragraph 33 only insofar as it alleges

that the property Plaintiff has identified is an assemblage of three parcels totaling 5.93 acres located

at 421 Cashua Drive in Florence. These Defendants further admit to the allegations of Paragraph

33 only insofar as it alleges that, at the time of filing Plaintiff’s Complaint, the property was within

an unincorporated, un-zoned area of Florence. Whether or not Plaintiff could, by right, build and

develop the specific intended use at the specific intended density under applicable ordinances and

land use regulations is a legal conclusion that cannot be admitted or denied; however, to the extent

that allegation attempts to establish liability on behalf of these Defendants, these Defendants deny

the same and demand strict proof thereof. These Defendants lack knowledge as to all remaining

allegations contained in Paragraph 33 and, therefore, deny the same and demand strict proof

thereof.

        26.      These Defendants lack information sufficient to form a belief as to the allegations

of paragraphs 34 and 35 and, therefore, deny the same and demand strict proof thereof.

        27.      These Defendants admit to the allegations of paragraph 36 only insofar as it alleges

that the Plaintiff circulated the rendering contained in Plaintiff’s paragraph 36 to the Florence

County Planning Commission. These Defendants lack information sufficient to form a belief



                                                   6
      4:22-cv-01235-JD         Date Filed 12/05/22      Entry Number 19        Page 7 of 28




regarding all remaining allegations contained in paragraph 36 and, therefore, deny the same and

demand strict proof thereof.

       28.       These Defendants lack information sufficient to form a belief regarding the

allegations contained in paragraphs 37, 38, and 39 and, therefore, deny the same and demand strict

proof thereof.

       29.       These Defendants admit to the allegations of paragraph 40 only insofar as it alleges

that Plaintiff was in contact with certain Florence County agencies. These Defendants lack

knowledge regarding any remaining allegations contained within paragraph 40 and, therefore,

deny the same and demand strict proof thereof.

       30.       Upon information and belief, these Defendants admit to the allegations of

Paragraph 41 only insofar as it alleges that the property was under contract and Plaintiff applied

for LIHTCs for the Jessamine by submitting an application to the Housing Authority. These

Defendants lack knowledge regarding any remaining allegation contained in Paragraph 41 and,

therefore, deny the same and demand strict proof thereof.

       31.       These Defendants lack information sufficient to form a belief as to the allegations

of paragraphs 42, 43, 44, 45, and 46 and, therefore, deny the same and demand strict proof thereof.

       32.       Insofar as paragraph 47 alleges the contents of an April 26, 2021, letter from

Derrick Singletary to Plaintiff, these Defendants crave reference to that letter as the best evidence

of the contents therein, and any allegation inconsistent with those contents is denied.

       33.       These Defendants lack information sufficient to form a belief as to the allegations

of paragraph 48 and, therefore, deny the same and demand strict proof thereof.

       34.       These Defendants admit to the allegations contained in paragraph 49 only insofar

as it alleges that Plaintiff had been in contact with Florence County and County Council as the full



                                                  7
      4:22-cv-01235-JD         Date Filed 12/05/22     Entry Number 19        Page 8 of 28




LIHTC application was finalized, including informing Plaintiff it intended to pay the cost of some

infrastructure improvements. These Defendants deny the remaining allegations as stated of

paragraph 49.

       35.      Insofar as paragraph 50 alleges the contents of an April 26, 2021, email, these

Defendants crave reference to that email as the best evidence of the contents therein, and any

allegation inconsistent with those contents is denied. These Defendants deny any other remaining

allegations of paragraph 50.

       36.      Insofar as paragraph 51 alleges the contents of a letter sent by Defendant Dorriety,

signed on April 27, 2021, these Defendants crave reference to that letter as the best evidence of

the contents therein, and any allegation inconsistent with those contents is denied. These

Defendants deny any remaining allegations of paragraph 51.

       37.      These Defendants lack information sufficient to form a belief as to paragraph 52

and, therefore, deny the same and demand strict proof thereof.

       38.      These Defendants admit to the allegations of paragraph 53 only insofar as it alleges

that during the months of March, April, and May 2021, Plaintiff’s representatives communicated

with Mr. Brashear and Florence County. These Defendants deny all remaining allegations of

paragraph 53 as stated.

       39.      Insofar as paragraph 54 alleges the contents of a letter from May 11, 2021, these

Defendants crave reference to that letter as the best evidence of the contents therein, and any

allegation inconsistent with those contents is denied. These Defendants deny all other allegations

contained in paragraph 54.

       40.      Insofar as paragraphs 55 and 56 alleges the contents of Notifications Letters sent

by Plaintiff on May 24, 2021, these Defendants crave reference to those Notification Letters as the



                                                 8
      4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19        Page 9 of 28




best evidence of the contents therein and deny any allegations inconsistent with those contents.

These Defendants lack information sufficient to form a belief as to all remaining allegations in

paragraphs 55 and 56 and, therefore, deny the same and demand strict proof thereof.

       41.      These Defendants lack information sufficient to form a belief as to the allegations

contained in paragraphs 57 and 58 and, therefore, deny the same and demand strict proof thereof.

       42.      As to paragraph 59, these Defendants lack knowledge regarding if plaintiff has

incurred any costs and if so, what the extent of those costs are, therefore these Defendants deny

the same and demand strict proof thereof. Upon information and belief, these Defendants admit to

the allegations of paragraph 59 only insofar as it alleges Shaw Research and Consulting, LLC,

issued the Jessamine Market Study on May 21,2021. As to the allegations of paragraph 59

regarding the contents of the Jessamine Market Study, these Defendants crave reference to that

study as the best evidence of its contents therein, and any allegation inconsistent with those

contents is denied. These Defendants deny any remaining allegations contained in paragraph 59.

       43.      Insofar as paragraphs 60, 61, 62, 63, 64, 65, 66, 67, and 68 allege the contents of

the 2021 QAP, these Defendants crave reference to the 2021 QAP as the best evidence of the

contents therein, and any allegation inconsistent with those contents is denied. These Defendants

lack information necessary to form a belief as to all remaining allegations contained in paragraphs

60, 61, 62, 63, 64, 65, 66, 67, and 68 and, therefore, deny the same and demand strict proof thereof.

       44.      Insofar as paragraph 69 alleges the contents of the 2021 QAP and/or the 2021

LIHTC Final Point Scores, these Defendants crave reference to the 2021 QAP and the 2021 LIHTC

Final Point Scores as the best evidence of the contents therein, and any allegation inconsistent with

those contents is denied. These Defendants lack information necessary to form a belief as to any




                                                 9
      4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19         Page 10 of 28




remaining allegation in paragraph 69 and, therefore, deny the same and demand strict proof

thereof.

       45.      Insofar as paragraph 70 alleges the contents of the 2021 LIHTC Final Award List,

these Defendants crave reference to the 2021 LIHTC Final Award List as the best evidence of the

contents therein, and any allegation inconsistent with those contents is denied.

       46.      Insofar as paragraph 71 alleges the contents of a letter to Plaintiff dated October

22, 2021, these Defendants crave reference to that letter as the best evidence of the contents therein,

and any allegation inconsistent with those contents is denied.

       47.      Insofar as paragraph 72 alleges the contents of a letter to Plaintiff dated October

22, 2021, these Defendants crave reference to that letter as the best evidence of the contents therein,

and any allegation inconsistent with those contents is denied.

       48.      These Defendants lack information sufficient to form a belief as to the allegations

contained in paragraphs 73, 74, 75, and 76 and, therefore, deny the same and demand strict proof

thereof. These Defendants further specifically deny the allegations of paragraphs 73, 74, 75, and

76 insofar as they attempt to establish any liability or wrongdoing on behalf of these Defendants.

       49.      Insofar as the allegations within paragraph 77 refer to the data by the United States

Census Bureau, these Defendants crave reference to that data as the best evidence of the contents

therein, and any allegation inconsistent with those contents is denied.

       50.      Upon information and belief, these Defendants admit the allegations contained

within paragraph 78 only insofar as it alleges that Plaintiff had initially planned to develop the

Jessamine in Census Tract 12. Insofar as the allegations within paragraph 78 refer to the data by

the United States Census Bureau, these Defendants crave reference to that data as the best evidence

of the contents therein, and any allegation inconsistent with those contents is denied. To the extent



                                                  10
     4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 11 of 28




that any remaining allegations of paragraph 78 attempt to establish liability on behalf of these

Defendants, these Defendants deny the same and demand strict proof thereof.

       51.      Insofar as the allegations within paragraphs 79, 80, 81, and 82 refer to the data by

the United States Census Bureau, these Defendants crave reference to that data as the best evidence

of the contents therein, and any allegation inconsistent with those contents is denied. These

Defendants lack information sufficient to form a belief as to the remaining allegations contained

in paragraphs 79, 80, 81, and 82 and, therefore, deny the same and demand strict proof thereof.

       52.      Insofar as paragraph 83 alleges the contents of the Jessamine Market Study, the

2021 LIHTC Final Point Scores, the 2021 LIHTC Final Award List, any data by the United States

Census Bureau, the POI, or any other documentation, these Defendants crave reference to the

Jessamine Market Study, the 2021 LIHTC Final Point Scores, the 2021 LIHTC Final Award List,

any such data by the United States Census Bureau, the POI, or any other such documentation as

the best evidence of the contents therein, and any allegation inconsistent with those contents is

denied. These Defendants lack information necessary to form a belief as to any other allegations

contained in paragraph 83 and, therefore, deny the same and demand strict proof thereof.

       53.      Insofar as paragraph 84 alleges the contents of the 2021 QAP or the 2022 QAP,

these Defendants crave reference to the 2021 QAP and the 2022 QAP as the best evidence of the

contents therein, and any allegation inconsistent with those contents is denied. These Defendants

lack knowledge as to any other allegations contained in paragraph 84 and, therefore, deny the same

and demand strict proof thereof.

       54.      These Defendants lack knowledge as to the allegations contained in paragraph 85

and, therefore, deny the same and demand strict proof thereof.




                                                11
      4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 12 of 28




       55.      These Defendants lack information regarding the allegations of paragraphs 86 and

87 at this time and, therefore, deny the same and demand strict proof thereof.

       56.      These Defendants lack knowledge as to the allegations contained in paragraph 88,

89, 90, and 91 and, therefore, deny the same and demand strict proof thereof.

       57.      Insofar as the allegations of paragraph 92 allege the contents of “FITSNews”

articles published on January 14, 2022, January 18, 2022, and January 20, 2022, these Defendants

crave reference to those articles as the best evidence of the contents therein, and any allegation

inconsistent with those contents is denied. These Defendants deny all other allegations contained

in paragraph 92.

       58.      These Defendants admit to the allegations of paragraph 93 only insofar as it alleges

that Defendant brand was present at a meeting held on January 18, 2022, at the Florence County

Club. These Defendants deny all remaining allegations of paragraph 93 as stated.

       59.      These Defendants admit to the allegations of paragraph 94 only insofar as it alleges

that the January 18, 2022, meeting involved discussion regarding the Jessamine and its impact on

traffic and drainage. These Defendants deny all other allegations of paragraph 94 as stated.

       60.      Insofar as paragraph 95 alleges the contents of a January 18, 2022, letter to

Plaintiff’s from Defendant Dorriety, these Defendants would crave reference to such letter as the

best evidence of the contents therein, and any allegation inconsistent with those contents is denied.

       61.      Insofar as paragraph 96 alleges the contents of a Freedom of Information Act

(FOIA) request from a Jeffrey Payne, these Defendants crave reference to such request as the best

evidence of the contents therein, and any allegation inconsistent with those contents is denied.

These Defendants lack information sufficient to form a belief as to any other allegations contained

in paragraph 96 and, therefore, deny the same and demand strict proof thereof.



                                                 12
      4:22-cv-01235-JD       Date Filed 12/05/22      Entry Number 19        Page 13 of 28




       62.      Insofar as paragraph 97 alleges the contents of emails from Tripp Ward, Assistant

District Permit Engineer for the South Carolina Department of Transportation (SCDOT), these

Defendants crave reference to those emails as the best evidence of the contents therein, and any

allegation inconsistent with those contents is denied. These Defendants deny any other allegations

of paragraph 97.

       63.      Insofar as paragraph 98 alleges the contents of SCDOT’s Access and Roadside

Management Standards Manual (ARMS Manual), these Defendants crave reference to the ARMS

Manual as the best evidence of the contents therein, and any allegation inconsistent with those

contents is denied. These Defendants deny any other allegation of paragraph 98.

       64.      Insofar as paragraph 99 alleges the contents of SCDOT’s Access and Roadside

Management Standards Manual (ARMS Manual), these Defendants crave reference to the ARMS

Manual as the best evidence of the contents therein, and any allegation inconsistent with those

contents is denied. These Defendants lack information sufficient to form a belief as to the

remaining allegations in paragraph 99 and, therefore, deny the same and demand strict proof

thereof.

       65.      To the extent that paragraph 100 alleges the contents of Mr. Payne’s January 20,

2022, FOIA request, these Defendants crave reference to that letter as the best evidence of the

contents therein, and any allegation inconsistent with those contents is denied. These Defendants

lack information sufficient to form a belief as to all other allegations contained in paragraph 100

and, therefore, deny the same and demand strict proof thereof.

       66.      These Defendants lack information to form a belief as to the remaining allegations

of paragraph 101 and 102 and, therefore, deny the same and demand strict proof thereof.




                                                13
      4:22-cv-01235-JD         Date Filed 12/05/22     Entry Number 19        Page 14 of 28




        67.      These Defendants deny the allegations of paragraph 103 insofar as it alleges that

Florence County Council called a special meeting in response to “discriminatory pressure.” These

Defendants admit to the remaining allegations contained within paragraph 103.

        68.      These Defendants admit to the allegations of paragraph 104 only insofar as it

alleges that Ordinance No. 17 2021/22 was introduced at the special meeting by title only, that

Defendant Brand resides on Fairway Drive, and that Defendant Brand had attended a January 18,

2022 meeting at the Florence County Club. These Defendants deny all remaining allegations of

paragraph 104 as stated.

        69.      Insofar as paragraph 105 alleges the contents of the approved minutes posted

online by Florence County, these Defendants crave reference to those minutes as the best evidence

of the contents therein, and any allegation inconsistent with those contents is denied.

        70.      Insofar as paragraph 106 alleges the contents of prior publications of the Florence

Morning News, these Defendants crave reference to those publications as the best evidence of the

contents therein and deny any allegation inconsistent with those contents. These Defendants deny

all other allegations as stated.

        71.      Insofar as paragraph 107 alleges the contents of the approved minutes posed online

by Florence County, these Defendants crave reference to those minutes as the best evidence of the

contents therein, and any allegation inconsistent with those contents is denied.

        72.      The allegations contained in paragraph 108 are legal conclusions that can neither

be admitted or denied; however, to the extent the allegations of paragraph 108 attempt to establish

liability on behalf of these Defendants, these Defendants deny those allegations and demand strict

proof thereof.




                                                 14
      4:22-cv-01235-JD          Date Filed 12/05/22     Entry Number 19        Page 15 of 28




       73.      These Defendants lack information sufficient to form a belief as to the allegations

contained within paragraph 109 and, therefore deny the same and demand strict proof thereof.

       74.      These Defendants admit to the allegations contained in paragraph 110 insofar as it

alleges that Florence County Council held its regularly scheduled meeting on February 17, 2022,

and posted onto the agenda was the second reading of Ordinance No. 17 2021/22 as well as a

public hearing for this ordinance, the agenda was revised on February 15, 2022, and the Second

Reading of Ordinance No. 17-2021/22 was part of the agenda which was revised. The remaining

allegations of paragraph 110 are legal conclusions which cannot be admitted or denied; however,

to the extent that those allegations attempt to establish liability on behalf of the these Defendants,

these Defendants deny the same and demand strict proof thereof.

       75.      Insofar as paragraph 111 alleges the contents of the Florence County approved

minutes and the contents of Ordinance No. 17 2021/22, these Defendants would crave reference

to those approved minutes and the text of the ordinance as the best evidence of the contents therein,

and any allegation inconsistent with those contents is denied. These Defendants deny all other

allegations contained within paragraph 111.

       76.      These Defendants deny the allegations of paragraph 112 insofar as it alleges that

any revision was made for the exclusive or unlawful purpose of only blocking or impacting the

Jessamine. Insofar as paragraph 112 alleges the contents of the Florence County approved minutes,

these Defendants crave reference to those minutes as the best evidence of the contents therein, and

any allegation inconsistent with those contents is denied. These Defendants deny any remaining

allegations of paragraph 112.

       77.      These Defendants admit to the allegations of paragraph 113 insofar as it alleges

that David Douglas spoke at the public hearing portion of the February 17, 2022, Florence County



                                                 15
     4:22-cv-01235-JD        Date Filed 12/05/22     Entry Number 19       Page 16 of 28




Council meeting in opposition to Ordinance No. 17 2021/22 and that David Douglas made various

statements indicating that the Ordinance and Moratorium would block a development with a

$12,000,000 value and that the LIHTCs awarded to the Jessamine would be lost. However, these

Defendants lack knowledge as to the veracity of these statements by David Douglas and therefore

deny the same and demand strict proof thereof. These Defendants further admit to the allegations

of paragraph 113 only insofar as it alleges that David Douglas quickly asked Florence County

Council about what other “donut hole” had the Council been contacted about. These Defendants

deny all other accusations contained within paragraph 113 as stated.

       78.     These Defendants admit to the allegations contained in paragraph 114 only insofar

as it alleges that Following the public comments made by David Douglas, Florence County

Councilman Kent Caudle told Defendant Dorriety that he needed to be recused from the issue of

Ordinance No. 17 2021/22 that was before Florence County Council, because his firm, Palmetto

Commercial Real Estate, was representing the owner of the property in the pending sale to

Plaintiff. These Defendants deny all other allegations contained within paragraph 114.

       79.     These Defendants admit to the allegations contained in paragraph 115 only insofar

as it alleges that Walker Wilcox, an attorney with the law firm of Wilcox, Buyck, & Williams in

Florence, who referred to himself as “one of the country club neighbors,” spoke in support of

Ordinance No. 17 2021/22 at the February 17, 2022 Florence County Council, where he voiced

concerns regarding the Jessamine, including that it is a “bad deal for Florence County.” These

Defendants further admit to the allegations contained in paragraph 115 only insofar as it alleges

that Walker Wilcox also made statements to Florence County Council regarding the burden that

the Jessamine would put on the surrounding infrastructure, which he described as “crumbling;”

stated that “he could not imagine a worse place to put this multifamily development;” and stated



                                               16
      4:22-cv-01235-JD        Date Filed 12/05/22        Entry Number 19      Page 17 of 28




that Plaintiff “was trying to take advantage of an anomaly.” These Defendants deny all other

allegations contained within paragraph 115.

       80.      These Defendants admit to the allegations of paragraph 116 only insofar as it

alleges that at the February 17, 2022, regular meeting, following second reading, the Florence

County Council voted in favor of a motion to approve second reading of Ordinance No. 17 2021/22

by a vote of 8-0, from which Kent Caudle abstained. These Defendants deny any remaining

allegations contained in paragraph 116 as stated.

       81.      These Defendants admit to the allegations of paragraph 117 only insofar as it

alleges that Drew Schaumber submitted written comments via email to be read aloud at the

February 17, 2022, meeting which were ultimately not read because according to Connie Haselden,

Clerk to Florence County Council, they were not received by her in time. These Defendants deny

all other allegations of paragraph 117 as stated.

       82.      Insofar as paragraph 118 alleges the contents of an email from Mr. Schaumber,

these Defendants crave reference to that email as the best evidence of the contents therein, and any

allegation inconsistent with those contents is denied. These Defendants deny all other allegations

contained within paragraph 118 as stated.

       83.      These Defendants admit to the allegations of paragraph 119 only insofar as it

alleges that Jeffrey Payne alerted canceled Freedom of Information request. These Defendants lack

information sufficient to form a belief as to the remaining allegations of paragraph 119 and,

therefore, deny the same and demand strict proof thereof.

       84.      Upon information and belief, these Defendants admit to the allegation contained

in paragraph 120 only insofar as it alleges that on February 25, 2022, Shawn Brashear sent an

email to Plaintiff’s mechanical electrical and plumbing engineer indicating that the Jessamine was



                                                    17
     4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19        Page 18 of 28




one of several thousand properties that are under a development moratorium, that a multifamily

housing project would not be approved under this moratorium, and that it was uncertain when the

moratorium would be lifted. These Defendants lack information necessary to form a belief as to

all other allegations contained in paragraph 120 and, therefore, deny the same and demand strict

proof thereof.

       85.       At this time, these Defendants lack information necessary to form a belief as to

paragraphs 121 and 122 and, therefore, deny the same and demand strict proof thereof.

       86.       Paragraph 123 contains a legal conclusion which cannot be admitted nor denied;

however, to the extent those allegations attempt to establish liability on the part of these

Defendants, these Defendants deny the same and demand strict proof thereof. As to all other

allegations in paragraph 123, these Defendants lack information sufficient to form a belief as to

those allegations and, therefore deny the same and demand strict proof thereof.

       87.       Paragraph 124 contains a legal conclusion which cannot be admitted nor denied;

however, to the extent those allegations attempt to establish liability on the part of these

Defendants, these Defendants deny the same and demand strict proof thereof. As to all other

allegations in paragraph 124, these Defendants lack information necessary to form a belief as to

those allegations and, therefore deny the same and demand strict proof thereof.

       88.       Paragraph 125 contains legal conclusions which cannot be admitted nor denied;

however, to the extent those allegations attempt to establish liability on the part of these

Defendants, these Defendants deny the same and demand strict proof thereof.

       89.       These Defendants admit to the allegations of paragraph 126 only insofar as it

alleges that these Defendants received a letter from Plaintiff. Insofar as paragraph 126 alleges the

contents of that letter, these Defendants crave reference to that letter as the best evidence of the



                                                18
      4:22-cv-01235-JD         Date Filed 12/05/22     Entry Number 19        Page 19 of 28




contents therein, and any allegation inconsistent with those contents is denied. These Defendants

deny all other allegation contained in paragraph 126 as stated.

       90.      These Defendants lack knowledge as to the allegations of paragraph 127 and,

therefore, deny the same and demand strict proof thereof.

       91.      Insofar as the allegations of paragraph 128 alleges the contents of a March 14,

2022, letter from plaintiff, these Defendants crave reference to that letter as the best evidence of

the contents therein, and any allegation inconsistent with those contents is denied. Defendants lack

information sufficient as to all remaining allegations in paragraph 128 and, therefore, deny the

same and demand strict proof thereof.

       92.      These Defendants admit to the allegations contained in paragraph 129 only insofar

as it alleges that Drew Schaumber’s written comments were added to the public record, circulated

to Council, and included in the meeting minutes on March 16, 2022. These Defendants deny all

other allegations as stated.

       93.      These Defendants admit to the allegations of paragraph 130; however, these

Defendants lack information sufficient to form a belief as to the veracity of Mr. Tallavast’s

statements and therefore, to the extent paragraph 130 alleges to be true, these Defendants deny the

same and demand strict proof thereof.

       94.      These Defendants admit to the allegations of paragraph 131 insofar as it alleges

that Pierce Campbell, who identified he was of the law firm of Turner Padgett Graham and Laney,

P.A., spoke in support of Ordinance No. 17 2021/22 at the March 17, 2022 meeting and that Mr.

Campbell stated he lives right beside the Property. These Defendants lack information sufficient

to form a belief as to the remaining allegations contained in paragraph 131 and, therefore, deny

the same and demand strict proof thereof.



                                                19
      4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 20 of 28




          95.    These Defendants admit to the allegations of paragraph 132 only insofar as it

alleges that Mr. Campbell spoke as to his opinions and concerns he had regarding Ordinance 17

2021/22 and the Jessamine. These Defendants deny the remaining allegations of paragraph 132 as

stated.

          96.    These Defendants lack information sufficient to form a belief as to the allegations

contained in paragraph 133 and, therefore, deny the same and demand strict proof thereof.

          97.    These Defendants admit to the allegations of paragraph 134 only insofar as it

alleges that at the March 17, 2022, regular meeting, following the third reading, Florence County

Council voted in favor of Ordinance No. 17 2021/22 by a vote of 8-0 with Kent Caudle abstaining.

These Defendants deny all other allegations of paragraph 134 as stated.

          98.    Paragraphs 135, 136, 137, 138, 139, 140, 141, 142, and 143 state a legal conclusion

that cannot be admitted or denied. However, to the extent that paragraphs 135, 136, 137, 138, 139,

140, 141, 142, and 143 attempt to establish liability on behalf of these Defendants, these

Defendants deny the same and demand strict proof thereof.

          99.    As to paragraphs 144 and 145, these Defendants lack information sufficient to

form a belief as to those allegations and, therefore, deny the same and demand strict proof thereof.

          100.   Paragraph 146 states a legal conclusion that cannot be admitted or denied;

however, to the extent that those allegations attempt to established liability on behalf of these

Defendants, these Defendants deny the same and demand strict proof thereof. Further, these

Defendants lack information necessary to form a belief as to any remaining allegations in

paragraph 146 and, therefore, deny the same and demand strict proof thereof.

          101.   These Defendants lack information sufficient to form a belief as to the allegations

of paragraphs 147, 148, and 149 and, therefore, deny the same and demand strict proof thereof.



                                                 20
      4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 21 of 28




       102.     These Defendants deny the allegations of paragraph 150 as stated.

       103.     These Defendants deny the allegations of paragraph 151.

       104.     Paragraph 152 states a legal conclusion which cannot be admitted or denied;

however, to the extent that the allegations of paragraph 152 attempt to establish liability on behalf

of these Defendants, these Defendants deny the same and demand strict proof thereof.

       105.     Defendants lack information sufficient to form a belief as to the footnote from

paragraph 154 and, therefore, deny the same and demand strict proof thereof.These Defendants

deny all remaining allegations of paragraphs 153 and 154.

       106.     In response to paragraph 155, these Defendants reassert all allegations herein, as

if repeated verbatim.

       107.     Paragraphs 156 and 157 state legal conclusions which cannot be admitted or

denied; however, to the extend the allegations of paragraphs 156 and 157 attempt to establish

liability on behalf of these Defendants, these Defendants deny the same and demand strict proof

thereof.

       108.     These Defendants deny the allegations of paragraph 158.

       109.     Paragraph 159 states a legal conclusion which cannot be admitted or denied;

however, to the extent that the allegations of paragraph 159 attempt to establish liability on behalf

of these Defendants, these Defendants deny the same and demand strict proof thereof.

       110.     These Defendants deny the allegations of paragraphs 160 and 161.

       111.     In response to paragraph 162, these Defendants reallege every allegation stated

herein, as if repeated verbatim.

       112.     These Defendants deny the allegations of paragraphs 163 and 164.




                                                 21
      4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19        Page 22 of 28




       113.      Paragraphs 165, 166, and 167 state legal conclusions which cannot be admitted or

denied; however, to the extent that the allegations of paragraphs 165, 166, and 167 attempt to

establish liability on behalf of these Defendants, these Defendants deny the same and demand strict

proof thereof.

       114.      These Defendants deny the allegations of paragraphs 168, 169, 170, and 171.

       115.      In response to the allegations of paragraph 172, these Defendants reallege every

allegation herein as if stated verbatim.

       116.      Paragraph 173 states a legal conclusion which cannot be admitted or denied;

however, to the extent that the allegations of paragraph 173 attempt to establish liability on behalf

of these Defendants, these Defendants deny the same and demand strict proof thereof.

       117.      These Defendants deny the allegations of paragraphs 174, 175, and 176.

       118.      In response to the allegations of paragraph 177, these Defendants reallege each

and every allegation herein as if stated verbatim.

       119.      Paragraphs 178, 179, 180, 181, 182, 183, 184, 185, and 186 state legal conclusions

which cannot be admitted or denied; however, to the extent that the allegations of paragraphs 178,

179, 180, 181, 182, 183, 184, 185, and 186 attempt to establish liability on behalf of these

Defendants, these Defendants deny the same and demand strict proof thereof.

       120.      Paragraphs 187 and 188 state legal conclusions which cannot be admitted or

denied; however, to the extent the allegations of paragraphs 187 and 188 attempt to establish

liability on behalf of these Defendants, these Defendants deny the same and demand strict proof

thereof.

       121.      Paragraph 189 states a legal conclusion which cannot be admitted or denied;

however, to the extent those allegations attempt to establish liability on behalf of these Defendants,



                                                 22
      4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 23 of 28




these Defendants deny the same and demand strict proof thereof. These Defendants Deny any

remaining allegations of paragraph 189.

       122.      These Defendants deny the allegations of paragraphs 190, 191, and 192.

       123.      In response to paragraph 193, these Defendants reallege each and every allegations

stated herein, as if repeated verbatim.

       124.      Paragraphs 194 and 195 state legal conclusions which cannot be admitted or

denied; however, to the extent the allegations of paragraphs 194 and 195 attempt to establish

liability on behalf of these Defendants, these Defendants deny the same and demand strict proof

thereof.

       125.      These Defendants deny the allegations of paragraphs 196, 197, and 198.

       126.      In response to paragraph 199, these Defendants reallege every paragraph herein,

as if stated verbatim.

       127.      Paragraphs 200, 201, and 202 contain legal conclusions which cannot be admitted

or denied; however, to the extent that the allegations of paragraphs 200, 201, and 202 attempt to

establish liability on behalf of these Defendants, these Defendants deny the same and demand strict

proof thereof.

       128.      These Defendants deny the allegations of paragraphs 203, 204, and 205.

       129.      In response to paragraph 206, these Defendants reallege every allegation stated

herein, as if repeated verbatim.

       130.      Paragraph 207 states a legal conclusion which cannot be admitted or denied;

however, to the extent that the allegations of paragraph 207 attempt to establish liability on behalf

of these Defendants, these Defendants deny the same and demand strict proof thereof.

       131.      These Defendants deny the allegations of paragraph 208.



                                                 23
      4:22-cv-01235-JD        Date Filed 12/05/22       Entry Number 19      Page 24 of 28




       132.     Paragraph 209 states a legal conclusion which cannot be admitted or denied;

however, to the extent the allegations of paragraph 209 attempt to establish liability on behalf of

these Defendants, these Defendants deny the same and demand strict proof thereof.

       133.     These Defendants deny the allegations of paragraphs 210 and 211.

       134.     In response to paragraph 212, these Defendants reallege each and every allegation

stated herein as if repeated verbatim.

       135.     Paragraphs 213, 214, 215, 216, 217, and 218 all state legal conclusions which

cannot be admitted or denied; however, to the extent that the allegations of paragraphs 213, 214,

215, 216, 217, and 218 attempt to establish liability on behalf of these Defendants, these

Defendants deny the same and demand strict proof thereof.

                                  FOR A FOURTH DEFENSE

       136.     Upon information and belief, the County official these defendants are entitled to

legislative immunity and, therefore, ought to be dismissed.

                                    FOR A FIFTH DEFENSE

       137.     Upon information and belief, Plaintiff lacks standing to bring its claims, and,

therefore, Plaintiff’s claims ought to be barred in whole or in part.

                                    FOR A SIXTH DEFENSE

       138.      Upon information and belief, Plaintiff has failed to mitigate its damages and,

therefore Plaintiff’s claims are barred in whole or in part.

                                  FOR A SEVENTH DEFENSE

       139.     Plaintiff has not pled facts supporting a negligence or gross negligence cause of

action and, therefore, those claims ought to be dismissed.

                                  FOR AN EIGHTH DEFENSE



                                                 24
      4:22-cv-01235-JD       Date Filed 12/05/22       Entry Number 19         Page 25 of 28




       140.     Even if Plaintiff shows a disparate impact on a minority class, which is

specifically denied, that disparate impact has a sufficient justification and, therefore, these

Defendants cannot be held liable for a disparate impact claim under the Fair Housing Act.

                                  FOR A NINTH DEFENSE

       141.     These Defendants did not act with discriminatory intent, and, therefore, any claim

alleging discriminatory intent under the Fair Housing Act must fail.

                                  FOR A TENTH DEFENSE

       142.     To the extent Plaintiff has alleged a claim under 42 U.S.C. §§ 1983 & 1985, these

Defendants assert that the principle of respondeat superior does not apply to actions brought

pursuant to §§ 1983 & 1985; therefore, any such claim must be dismissed

                              FOR AN ELEVENTH DEFENSE

       143.     Plaintiff’s claims, in whole or in part, are not ripe for adjudication.

                                FOR A TWELFTH DEFENSE

       144.     Plaintiff’s claim is barred in whole or in part by the applicable statute of

limitations.

                              FOR A THIRTEENTH DEFENSE

       145.     As to Plaintiff’s claim for promissory estoppel, these Defendants allege that they

made no unambiguous promise sufficient to support such a claim and, therefore, it ought to be

dismissed.

                              FOR A FOURTEENTH DEFENSE

       146.     As to Plaintiff’s claim for promissory estoppel, these Defendants allege that

Plaintiff’s reliance of any promise by Defendant, though these Defendants deny such a promise

exists, was unreasonable and therefore Plaintiff’s claim ought to be dismissed.



                                                25
        4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19        Page 26 of 28




                                  FOR A FIFTEENTH DEFENSE

         147.       Upon information and belief, these Defendants are entitled to sovereign

immunity.

                                  FOR A SIXTEENTH DEFENSE

         148.      These Defendants are not “persons” amenable to suit under 42 U.S.C. §§ 1983 or

1985.

                                FOR A SEVENTEENTH DEFENSE

         149.      Upon information and belief, these Defendants lack standing to bring some or all

of their claims.

                                FOR AN EIGHTEENTH DEFENSE

         150.      These Defendants did not violate any clearly established statutory or constitutional

rights and are entitled to qualified immunity.

                                  FOR A NINTEENTH DEFENSE

         151.      At all times, these Defendants acted in good faith and within their discretion and,

therefore, are entitled to immunity.

                                  FOR A TWENTIETH DEFENSE

         152.      Plaintiff has not alleged facts sufficient to sustain a claim under the Fair Housing

Act and, therefore, those claims ought to be dismissed.

                                FOR A TWENTY-FIRST DEFENSE

         153.      At all times, these Defendants acted toward the Plaintiff in good faith, in a

reasonable manner, and within the scope of their duties.

                              FOR A TWENTY-SECOND DEFENSE




                                                   26
      4:22-cv-01235-JD         Date Filed 12/05/22       Entry Number 19         Page 27 of 28




        154.     The State Tort claims contained in Plaintiff’s Complaint are governed by the South

Carolina Tort Claims Act (§§ 15-78-10 et seq. of the Code of Laws of South Carolina) which

provides the exclusive civil remedy for torts committed by a governmental employee.

        155.     Defendant Pleads the provisions of the South Carolina Tort Claims Act, including

all of its immunities, limitation, and defenses as a defense to Plaintiff’s state tort claims.

                              FOR A TWENTY-THIRD DEFENSE

        156.     Plaintiff has not alleged facts sufficient to show a violation of equal protection

rights under 42 U.S.C. § 1983, or any other constitutional or statutory right.

                            FOR A TWENTY-FOURTH DEFENSE

        157.     Plaintiff has not alleged facts sufficient to support a cause of action under 42

U.S.C. § 1985.

                              FOR A TWENTY-FIFTH DEFENSE

        158.     Plaintiff has not alleged facts sufficient to support a cause of actions under Title

VI of the Civil Rights Act of 1964.

                              FOR A TWENTY-SIXTH DEFENSE

        159.     Even if Plaintiff has sufficiently pled a claim for negligence or gross negligence,

which is specifically denied, these Defendants assert that Plaintiff’s claims should be limited or

completely barred by the doctrine of comparative negligence.

                            FOR A TWENTY-SEVENTH DEFENSE

        160.     These Defendants’ actions were objectively reasonable in light of existing law,

and, therefore, these Defendants are entitled to immunity.

                            [Remainder of page intentionally left blank]




                                                  27
     4:22-cv-01235-JD        Date Filed 12/05/22      Entry Number 19       Page 28 of 28




       WHEREFORE, having fully answered the Plaintiff’s Complaint, these Defendants pray

that the Complaint be dismissed with prejudice, for the costs of this action including an award of

attorney’s fees under 42 U.S.C. §§ 1988 and 3613(c)(2), and for such other and further relief as

the court deems just and proper.

                                                    Respectfully submitted,

                                                    DAVIDSON, WREN & DEMASTERS, P.A.


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December 5, 2022




                                               28
